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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 TEXAS LEAGUE OF UNITED LATIN                    §
 AMERICAN CITIZENS, et al.,                      §
                                                 §
       Plaintiffs,                               §
                                                 §
 v.                                              §    CIVIL ACTION NO. 5:19-CV-00074-FB
                                                 §
 DAVID WHITLEY, et al.,                          §
                                                 §
       Defendants.                               §

______________________________________________________________________________

                  DEFENDANT’S ADVISORY TO THE COURT
______________________________________________________________________________

       Defendant Secretary of State David Whitley received this Court’s Order setting a status

conference for April 27, 2019, ECF No. 130, and counsel for Secretary Whitley will be prepared

to discuss the subjects referenced in the Order in detail at that conference.

       In its Order, the Court states that Secretary Whitley “has not given a counterproposal” to

the plaintiffs in an attempt to resolve this case. Secretary Whitley writes to advise the Court that

on March 25, 2019, Secretary Whitley provided proposed written settlement terms to each of the

plaintiff groups.

       Secretary Whitley met personally with each party to the litigation on February 27, 2019,

and his counsel had later discussions with the plaintiff groups before the March 11, 2019 status

conference. The Secretary has listened to the plaintiffs’ concerns expressed in those discussions

and during the March 11 status conference. During the March 11 conference, counsel for Secretary

Whitley agreed to provide additional data and discuss the possibility of settlement with the

plaintiffs before their Rule 26(f) conference.
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       On March 15, 2019, Defendant Whitley informed the Court that his office had provided

that additional data to the plaintiffs. ECF No. 124.

       On March 25, 2019, Secretary Whitley sent proposed settlement terms to the plaintiffs. As

of today, Secretary Whitley is the only party to have provided a written settlement proposal, and

he expects the plaintiffs’ responses in the coming days. Additionally, each of the parties to this

action have agreed to an in-person meeting in San Antonio on April 1, 2019, to further discuss the

Secretary’s proposal.

       The Court also addressed the plaintiffs’ filings related to a technical error that occurred on

March 11, 2019. See ECF Nos. 120 and 121. In their filing, the Garibay plaintiffs erroneously

claimed that this error somehow showed that the proposed monthly matching process is flawed.

See ECF No. 121. However, the data was unintentionally sent to the counties due to an inadvertent

error caused by a vendor who mistakenly transmitted data. That inadvertent transmission bears no

relevance to any of the Secretary’s list-maintenance activities. Upon discovering the error, the

Secretary’s office immediately informed the counties to take no action on that data on the same

day it was inadvertently sent. A copy of the corrective letter sent to the counties is attached as

Exhibit A.
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                           Respectfully submitted.

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                           /s/ Patrick K. Sweeten
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                              CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on March 27, 2019, and that all counsel of record were served by CM/ECF.

                                           /s/ Patrick K. Sweeten


                                           PATRICK K. SWEETEN
